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                                                                           FEB - 6 2019
                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF VIRGINIA
                             Richmond Division


TREVOR FITZGIBBON,

     Plaintiff,

V.                                           Civil Action No. 3:18-cv-247


JESSELYN A. RADACK,

     Defendant.


                             MEMORANDUM OPINION


     This matter is      before the     Court on       Jesselyn    A.   Radack's

RENEWED MOTION TO TRANSFER VENUE (EOF No. 76). For the following

reasons, the motion will be denied.

                                BACKGROUND


     Trevor    Fitzgibbon    instituted      this    action   against     Radack,

claiming that she maliciously prosecuted and defamed him by falsely

accusing him of sexual assault. See generally EOF No. 12.

     After the pre-trial conference and after she had filed various

other motions, Radack instituted a bankruptcy action under Chapter

11 of the     United States Bankruptcy Code in the               United States

Bankruptcy Court for the District of Columbia. She then filed a

notice   of   removal   to   remove   this    case    to   the   United   States


Bankruptcy Court for the Eastern District of Virginia, but the

bankruptcy judge held that this removal was improper. Fitzgibbon

V. Radack, No. 18-3096 (Bankr. E.D. Va. October 25, 2018). Thus,

the action was remanded back to this Court.
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     Pursuant to 11 U.S.C. § 362, this action was stayed with

respect to Radack because she instituted the bankruptcy action.

ECF No. 75. Further, Radack filed a motion to transfer the case.

ECF No. 76. Fitzgibbon responded, ECF No. 77, and Radack replied.

ECF No. 79.


                                DISCUSSION


I.   Section 1404 Governs Transfer of Venue Nhen the Action Is Not
     Under Title 11.


     The   first   issue   to   be   determined   is   whether   28   U.S.C.


§ 1404(a)^ or 28 U.S.C. § 1412^ should be the basis for determining

whether a transfer is proper.

     The   Fourth Circuit has not spoken on this issue, but the

leading case    by a   district court in this circuit is from the

Southern District of West Virginia. In Dunlap v. Friedman^s. Inc.,

331 B.R. 674 (S.D. W.Va. 2005), the court held that, when a party

requests a transfer to a pending related-to bankruptcy proceeding

in another district court. Section 1412 governs whether a transfer

is appropriate. Id. at 680. The court did so because (1) the




     1 Section 1404(a) says, "For the convenience of parties and
witnesses, in the interest of justice, a district court may
transfer any civil action to any other district or division where
it might have been brought or to any district or division to which
all parties have consented."

     2 Section 1412 says, "A district court may transfer a case or
proceeding under title 11 to a district court for another
district, in the interest of justice or for the convenience of the
parties."
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leading commentator on the issue said that Section 1412 should

govern, id. at 677; (2) Section 1404 would thwart transfer in many

cases,    which   would     "dilute   the   well-settled   presumption   that

^related to' proceedings should be litigated in the ^home court,'"

id. at 678 (quoting Hohl v. Bastian, 279 B.R. 165, 177-78 (W.D.

Pa. 2002)); and (3) the legislative history of Sections 1404 and

1412 confirmed the court's view. Id. at 679-80. Other courts have


followed Dunlap. See, e.g.. Brown v. Wells Fargo, N/A, 463 B.R.

332, 338 (M.D.N.C. 2011); Creekridqe Capital, LLC v. Louisiana

Hosp. Ctr., LLC, 410 B.R. 623, 628 (D. Minn. 2009).

        But a recent decision by the United States Bankruptcy Court

for the Southern District of New York challenges the Dunlap view.

In Multibank, Inc.        v. Access Global Capital LLC, 594 B.R. 618

(Bankr. S.D.N.Y. 2018), the bankruptcy court held that Section

1412 applies only to proceedings that arise "under" the Bankruptcy

Code. Id. at 621. That was so, said the bankruptcy court, based on

the plain language of Section 1412, because the phrases "related

to" and "arises in" were left out of Section 1412. Id. at 622-23.


So, a case "under title 11" must be one that asserts a bankruptcy

claim. Id. at 623. The bankruptcy court in Multibank thought that

the Dunlap court was incorrect because it had equated the language

of Section     1475—which included the "arises in" and "related to"


language—with that of Section 1412. Id. Therefore, Section 1412

could    not   apply   to    a   transfer   of   a   non-bankruptcy   action.
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necessarily    meaning    that     Section   1404     is   the    appropriate

mechanism. See id. at 624. Other courts have also maintained that


Section 1404(a) controls. See, e.g.^         Rumore v. Wamstad, No. 01-

2997, 2001 WL 1426680, at *2 (E.D. La. Nov. 13, 2001) ("Since

section 1412 does not contain the phrase, ^or related to,' most

courts have found that motions to transfer            actions    ^related to'


title 11 cases should be governed by section 1404, the general

change of venue provision."); Tultex Corp. v. Freeze Kids, L.L.C.,

252 B.R. 32, 36 n.4 (S.D.N.Y. 2000) (same).

     The Court finds the reasoning of Multibank more persuasive:

the plain language of Section 1412 says: "A district court may

transfer a case or proceeding under title 11 to a district court

for another district." 28 U.S.C. § 1412 (emphasis added). This

language teaches that the statute applies only to bankruptcy cases

and proceedings because those are the only cases or proceedings

filed "under title 11." Thus, the Court will examine the case under

Section 1404 rather than Section 1412.^




     2 Further, it seems clear to the Court that, as Fitzgibbon
argues, Radack's bankruptcy action was filed solely to avoid this
litigation. In her December 2018 status report, Radack said that
zero creditors appeared at her statutory meeting of creditors. ECF
No. 80 at 1. She also did not mention any debts in this status
report outside of "the claims against her." Id. at 2. In her
January 2019 status report, Radack said only that she had
"commenced the examination of claims against her to be addressed
in a Chapter 11 Plan of Reorganization." ECF No. 81 at 1. And in
a conference call on October 29, 2018, Radack's counsel said that
any judgment in this case would be the biggest claim against
Radack.   Thus,   there   is   a   substantial      evidentiary    basis   for
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II.   The Section 1404 Factors Weigh Against a Transfer

      Section 1404(a) says, "For the convenience of parties and

witnesses,   in   the    interest    of   justice,    a   district   court   may

transfer any civil action to any other district or division where

it might have been brought or to any district or division to which

all parties have consented." The first inquiry is whether the

claims "might have been brought" in the transferee forum. See id.;

Byerson v. Equifax Info. Servs., LLC, 467 F. Supp. 2d 627, 631

(E.D. Va. 2006). After that, the Court must consider and balance

various   factors   to   determine    whether   a    transfer   is   warranted.


Byerson, 467 F. Supp. 2d at 631.

      A district court has discretion to decide motions to transfer


according to an "individualized, case-by-case consideration of

convenience and fairness." Stewart Orq., Inc. v. Ricoh Corp., 487

U.S. 22, 29 (quoting Van       Dusen      v. Barrack,     376 U.S. 612, 622

(1964)). Radack, as the movant, has the burden of showing that a

transfer is proper. Byerson, 467 F. Supp. 2d at 631. In fact,

Radack must show that the balance of convenience among the parties

and witnesses "is beyond dead center, and strongly favors the

transfer sought." Medicenters of America, Inc. v. T & V Realty &

Equip. Corp., 371 F. Supp. 1180, 1184 (E.D. Va. 1974).




Fitzgibbon's contention that Radack's bankruptcy action was not
filed in good faith. Instead, it appears to be a tactic to try to
secure transfer of this case to the District of Columbia.
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      A.    Might an Action Against Radack Have Been Brought in the
            District of Columbia?


      There is no dispute that the action could have been brought

against Radack in her home district of the District of Columbia.

Under 28 U.S.C. § 1391(b)(1), an action can be brought in any

district in which a defendant resides, and under § 1391(b)(2), an

action may be brought in a district "in which a substantial part

of the events or omissions giving rise to the claim occurred."

Here, Radack lives in the District of Columbia, and much of the

disputed events happened in the District of Columbia. Thus, the

action could have been brought there.

      B.    The § 1404(a) Factors Weigh Against Transfer

      The   factors   to   be   considered   for   a § 1404(a)      motion     are:

"(1) the    weight accorded to plaintiff's choice of venue; (2)

witness convenience and access; (3) convenience of the parties;

and   (4)   the   interest      of    justice."- Trs.    of   the    Plumbers     &

Pipefitters Nat. Pension Fund v. Plumbing Servs., Inc., 791 F.3d

436, 444 (4th Cir. 2015). Each of these factors are addressed

below.


            1.    Fitzgibbon's Choice of Foriam

      "As a general rule, a plaintiff's ^choice of venue is entitled

to • substantial      weight     in    determining      whether     transfer    is

appropriate.'" Id. (quoting Bd. of Trs. v. Sullivant Ave. Props.,
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LLC, 508    F.   Supp. 2d     473, 477 (E.D.     Va. 2007)). But, if the

plaintiff's choice of forum is neither the nucleus of operative

facts nor the plaintiff's home forum, the plaintiff's choice is

accorded less weight. Intranexus, Inc. v. Siemens Med. Sols. Health

Servs. Corp., 227 F. Supp. 2d 581, 583 (E.D. Va. 2002). Even then,

the choice of forum is relevant if there is a connection between


the forum and the plaintiff s claim that logically supports the

plaintiff's decision to bring the case in the chosen forum. Mullins

V. Equifax Info. Servs., LLC, No. 3:05-cv-888, 2006 WL 1214024, at

*5 (E.D. Va. April 28, 2006).

     As    Radack    notes,    Fitzgibbon   is   no   longer    a   citizen   of

Virginia, although he was at the time of the underlying events. He

is now, and was when this action was filed, a citizen of North

Carolina. Further, the underlying events happened in the District

of Columbia. So, in her view, this factor favors a transfer.

     The Court finds that Fitzgibbon's choice of forum does not

carry its usual strong weight here, because Fitzgibbon does not

live in Virginia and because the underlying facts did not occur

here.     However,   Fitzgibbon's    choice      of   forum    is   nonetheless

entitled    to   significant    weight   because      Fitzgibbon    resided   in

Richmond, Virginia during the relevant events and most of his

witnesses live in and around the Richmond. And, the effects of the

allegedly defamatory remarks were felt in this forum. Thus, there
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is a substantial connection to the forum that logically supports

Fitzgibbon's decision to bring the case here.

               2.    Convenience of the Parties


      The second factor to be weighed is the convenience to the

parties in litigating in either venue. Koh v. Microtek Intern.^

Inc.,    250    F.   Supp.   2d    627,   636   (E.D.    Va.   2003).   The    first

consideration when weighing the convenience of the parties is their

residency. But "residence is not a controlling factor and may be

outweighed in the context of a particular case by countervailing

considerations relevant to the convenience of the witnesses and

the interest of justice." 15 Fed. Prac. & Proc. Juris. § 3849 (4th

ed.). Radack, as the movant, must show (1) that the original forum

is   inconvenient      for   her   and    (2)   that    Fitzgibbon   will     not   be

substantially inconvenienced by the transfer. Koh, 250 F. Supp. 2d

at 636.


        Radack resides in the District of Columbia, so transferring

the case to her home district will be more convenient for her.

Further, Radack states that she suffers from Multiple Sclerosis

and that she is unable to drive for more than 15 minutes and would

have to secure a driver for every proceeding. Radack also asserts

that Fitzgibbon would not be inconvenienced by the action being

transferred to the District of Columbia.
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        Fitzgibbon, on the other hand, points to a video of Radack

where she sat on a stage for over an hour, and he thinks that

Radack can easily travel to Richmond. Fitzgibbon does not specify

in his pleadings how it would be more difficult for him to travel

to the District of Columbia rather than Virginia, but his location

in North Carolina is considerably closer to Richmond than it is to

the District of Columbia.


       The Court finds that this factor weighs slightly in favor of

Radack       because      of   Radack's        medical    condition         and    because


Fitzgibbon has failed to state any reason why it would be more

difficult for        him to    travel to       the   District       of Columbia     rather


than Richmond.


              3. Convenience of the Witnesses


       The     convenience      of     the      witnesses      is     of    considerable


importance when considering a transfer, especially the convenience

of non-party witnesses, whose location should be afforded greater

weight in deciding a motion to transfer venue. See id. at 637. The

party    asserting         witness   inconvenience           must    offer       sufficient

details respecting the witnesses and their potential testimony, by

affidavit      or    otherwise,      to    enable      the    Court    to    assess    the

materiality of evidence and the degree of inconvenience. Id. at

636.    "Witness         convenience      is   often     dispositive        in     transfer

decisions. But the influence of this factor cannot be assessed in

the    absence      of   reliable    information       identifying         the    witnesses
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involved and specifically describing their testimony." Bd. of

Trs.y    Sheet    Metal    Workers     Nat.    Fund   v.   Baylor    Heating        &   Air

Conditioning^      Inc.,    702   F.    Supp.    1253,     1258    (E.D.      Va.   1988)

(footnote    omitted).      To    satisfy      her    burden      that    a   forum     is

inconvenient for witnesses, a movant must provide particularized

information of a witness's potential testimony, how that testimony

is material and non-cumulative, or the degree to which it will be

inconvenient to access that testimony in this district. See Koh,

250 F. Supp. 2d at 636.

        Radack argues that the clear majority of non-party witnesses

live in the District of Columbia. As support, Radack cites her

OB/GYN, her former therapist, an eyewitness to the events, Radack's

husband,    and    an     unspecified     number      of   former        employees      of

Fitzgibbon Media. Radack, however, fails to state what information

each of these witnesses will provide, how important they are to

the case, or how they will be inconvenienced by having to come to

Richmond. So, in total, she lists four definitive witnesses, but

it is unclear to the Court how necessary each is to the case.

        Fitzgibbon lists four witnesses who reside in Richmond, one

who resides in Charlottesville, and one who resides in Arlington.

So, five of his witnesses are located closer to Richmond and one

is located closer to the District of Columbia. But, like Radack,

Fitzgibbon fails to state what information each of these witnesses

will provide or how important they are to the case.

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        The   burden of showing that the forum is inconvenient for

witnesses is upon Radack, and she has failed to carry her burden.

The Court has been given no information that any witness located

in or around the District of Columbia will be burdened by coming

to Richmond, and Radack has failed to provide any information about

her witnesses' expected testimony. Further, transferring the case

to the District of Columbia will essentially benefit Radack at the

expense       of    Fitzgibbon.   So,   this   factor    weighs   in   favor   of

Fitzgibbon.

               4.     Interest of Justice


        Finally, the Court must consider the "interest of justice,"

which    encompasses      public interest      factors    aimed   at "systemic

integrity and fairness." Stewart Org., Inc. v. Ricoh Corp., 487

U.S.    22,    30    (1988).   Judicial   economy   and    the    avoidance    of

inconsistent judgments are prominent among the principal elements

of systemic integrity. See U.S. Ship Mgmt., Inc. v. Marsk Line,

Ltd., 357 F. Supp. 2d 924, 937-38 (E.D. Va. 2005). Other factors

include "the pendency of a related action, the court's familiarity

with the applicable law, docket conditions, access to premises

that might have to be viewed, the possibility of unfair trial, the

ability to join other parties, and the possibility of harassment."

Koh, 250 F. Supp. 2d at 639.

       Outside of her above-listed reasons, Radack says that the

interests of justice favor her for two reasons. First, she argues

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that a federal district court located in the District of Columbia


is better able to apply the substantive law of that district than

this Court. Second, Radack argues that the two locations in which

the alleged sexual assault took place are in the                      District of

Columbia, so it should be transferred in case those locations need

to be visited. Fitzgibbon does not respond to these arguments.

      The Court finds that Radack once again has failed to carry

her   burden   for this factor. Even          if   Radack is    correct that the


substantive law of the District of Columbia applies to this case,

she   has   failed   to   explain    whether       that   law   is   substantially

different from Virginia law. Moreover, it appears that the tort of

"malicious prosecution" contains the same elements in both the

District of Columbia and Virginia. Compare DeWitt v. District of

Columbia, 43 A.3d 291, 296 (D.C. 2012), cert, denied 133 S. Ct.

449 (2012) (stating that malicious prosecution has four elements:

"(a) a criminal proceeding instituted or continued by the defendant

against the plaintiff, (b) termination of the proceeding in favor

of the accused, (c) absence of probable cause for the proceeding,

and   (d)    ^Malice,'    or   a   primary     purpose     in   instituting     the

proceeding other than that of bringing an offender to justice"

(quoting Jarett v. Walker, 201 A.2d 523, 526 (D.C. 1964))), with

0^Connor v. Tice, 704 S.E.2d 572, 575 (Va. 2011) (stating that a

malicious prosecution is one in which "the prosecution was (1)

malicious,     (2)   instituted     by   or   with   the   cooperation     of   the

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[defendant], (3) without probable cause, and (4) terminated in a

manner not unfavorable to [the plaintiff]"). Nor has Radack shown

a material difference in the law of the two districts that controls


the defamation claim, where it appears that the law is the same.

Compare Zapata v. Woodward & Lothrop, 180 A.2d 497, 499 & n.5 (D.C.

1962) (stating that defamation is actionable per se when "the words

fall   into    one    of   the   categories   where    damage     is   presumed,"

including "the imputation of crime . . . [that] is of such a

character as to make it actionable per se"), with Tronfeld v.

Nationwide     Mut.    Ins.   Co.,    636 S.E.2d   447,       449-50   (Va.   2006)

(stating that defamatory words are actionable per se when they

"impute   to   a     person   the    commission   of   some    criminal   offense

involving moral turpitude, for which the party, if the charge is

true, may be indicted and punished").

       Further, Radack has not shown why this Court would be unable

to apply the substantive law of the District of Columbia. Indeed,

there is nothing unique about Fitzgibbon's substantial claims that

would make it difficult for             any district court to          apply the

governing law.

       Finally, Radack has not explained what circumstances would

require a visit to the locations of the alleged events. And, the

Court does not foresee any need for a visit.^



     ^ No one has alleged that there is a risk that a trial will
be conducted fairly in one district and not the other; that a trial

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     Thus, in the Court's view, the interest of justice does not

warrant transfer.


                                    CONCLUSION


     In sum, even though the Court finds that Radack may have some

difficulty getting to Richmond due to her health condition, that

factor   does   not   outweigh    Fitzgibbon's      choice   of   forum,   the

convenience of the witnesses, or the interests of justice. At best,

the factors are at ^'dead center," which is not enough for Radack

to fulfill her burden of proving that a transfer is warranted. See

Medicenters, 371 F. Supp. at 1184. That is not enough to meet

Radack's   burden.    For the    reasons   set forth   above, the    RENEWED

MOTION TO TRANSFER VENUE (EOF No. 76) will be denied.

     It is so ORDERED.




                                              /s/
                            Robert E. Payne
                            Senior United States District Judge


Richmond, Virginia
Date: February ^ , 2019




in either district will affect the integrity of the decision; or
that there is any other factor for the Court to consider.
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